     Case 8:24-mj-01459-SPF Document 18 Filed 04/17/24 Page 1 of 2 PageID 47




                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                             TAMPA DIVISION


UNITED STATES OF AMERICA

v.                                                 Case No. 8:24-mj-01459-SPF

MIKHAIL SOLOVEV
______________________________/

                            MOTION TO WITHDRAW

        The Defendant, MIKHAIL SOLOVEV, by and through the undersigned

attorney, hereby files a motion for his attorney to withdraw as counsel of record in

this cause and states the following:

        1. The Office of the Federal Public Defender was appointed to represent the

Defendant on March 25, 2024, at the Defendant’s Initial Appearance. (Docs. 7, 11)

        2. On April 17, 2024, Mr. Bjorn Brunvand, Esquire, filed a Notice of

Appearance as Mr. Solovev’s counsel. (Doc. 17)

        3. In light of Mr. Brunvand’s Notice of Appearance, the Office of the Federal

Defender should be allowed to withdraw from the case.

        4. Local Rule 2.03 provides that no attorney shall withdraw as counsel

without approval of the Court and notice to the defendant. A copy of this motion will

be provided to Mr. Solovev.

                                       1
   Case 8:24-mj-01459-SPF Document 18 Filed 04/17/24 Page 2 of 2 PageID 48




      WHEREFORE, the undersigned counsel hereby requests permission to

withdraw as counsel and for recognition of Mr. Brunvand as counsel for Mr.

Solovev.

                                                  Respectfully submitted,

                                                  A. FITZGERALD HALL, ESQ.
                                                  FEDERAL DEFENDER

                                                  /s/ Adam B. Allen
                                                  Adam B. Allen, Esq.
                                                  Assistant Federal Defender
                                                  Florida Bar No. 0998184
                                                  400 North Tampa Street
                                                  Suite 2700
                                                  Tampa, FL 33602
                                                  Telephone: (813) 228-2715
                                                  Facsimile: (813) 228-2562
                                                  Email: adam_allen@fd.org

                           CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that on this 17th day of April 2024, a true copy of the

foregoing was filed with the Clerk of the Court using the CM/ECF system, which

will send a notice of the electronic filing to:

      AUSA Shankar Ramamurthy

                                                  /s/ Adam B. Allen
                                                  Adam B. Allen, Esq.
                                                  Assistant Federal Defender



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